70 F.3d 1263
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James E. SHRADER, Plaintiff--Appellant,v.NORTH CAROLINA;  Ralph A. Walker;  Hugh A. Wells;  John B.Lewis, Jr.;  John Doe, Defendants--Appellees.
    No. 95-2170.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 16, 1995.Decided Nov. 27, 1995.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Malcolm J. Howard, District Judge.  (CA-95-34-5-CIV-H)
      James E. Shrader, Appellant Pro Se.  Jacob Leonard Safron, Special Deputy Attorney General, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      AFFIRMED.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief in his civil rights action.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Shrader v. North Carolina, No. CA-95-34-5-CIV-H (E.D.N.C. May 10, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    